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 8

 9
                                  UNITED STATES DISTRICT COURT
10
                               SOUTHERN DISTRICT OF CALIFORNIA
11

12    TALAVERA HAIR PRODUCTS, INC., a)                                CASE NO. 18-cv-00823-JLS-JLB
      Nevada corporation,               )
13                                      )
                   Plaintiff,           )                             SUPPLEMENTAL
14                                      )                             DECLARATION OF VICTOR
         v.                             )                             TALAVERA IN SUPPORT OF
15                                      )                             PLAINTIFF’S EX PARTE
      TAIZHOU YUNSUNG ELECTRICAL )                                    APPLICATION FOR ENTRY
16    APPLIANCE CO., LTD., a business   )                             OF TEMPORARY
      entity, and THE INDIVIDUALS,      )                             RESTRAINING ORDER AND
17    PARTNERSHIPS AND                  )                             PRELIMINARY INJUNCTION
      UNINCORPORATED ASSOCIATIONS )
18    IDENTIFIED ON EXHIBIT “1”,        )
                                        )
19                 Defendants.          )
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28     SUPPLEMENTAL DECLARATION OF VICTOR TALAVERA IN SUPPORT OF PLAINTIFF'S EX PARTE APPLICATION FOR ENTRY OF TEMPORARY
      RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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 1    I, VICTOR TALAVERA, declare:
 2            1.       I am the President of Plaintiff TALAVERA HAIR PRODUCTS, INC.
 3    (“TALAVERA” or Plaintiff). I make this supplemental declaration in support of
 4    Plaintiff’s Ex Parte Application for Entry of Temporary Restraining Order and
 5    Preliminary Injunction.
 6    Newly Identified Seller ID Defendants 52-62:
 7            2.       In my prior declaration [ECF 9-11], I attached as Exhibit F [ECF 9-
 8    17] true and correct copies of screenshots of Amazon or eBay listings that
 9    correspond to Seller ID Defendants. The pages on Exhibit F [ECF 9-17] are
10    numbered 1 - 252.
11            3.       By this supplemental declaration, I now supplement Exhibit F to
12    include pages 253 - 351 that correspond to infringing products sold by newly
13    identified Seller ID Defendants 53-61 listed on the First Supplement to Exhibit 1
14    of the Complaint [ECF 54].
15            I declare under penalty of perjury that the foregoing is true and correct
16    under the laws of the United States. Executed this 17th day of September, 2018.
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                                                       VICTOR TALAVERA
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       SUPPLEMENTAL DECLARATION OF VICTOR TALAVERA IN SUPPORT OF PLAINTIFF'S EX PARTE APPLICATION FOR ENTRY OF TEMPORARY
      RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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